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         NOTE: This disposition is nonprecedential.


    United States Court of Appeals
        for the Federal Circuit
                  ______________________

                ALLERGAN SALES, LLC,
                 Plaintiff-Cross-Appellant

                             v.

    SANDOZ, INC., ALCON LABORATORIES, INC.,
            ALCON RESEARCH, LTD.,
               Defendants-Appellants
              ______________________

        2017-1499, 2017-1500, 2017-1558, 2017-1559
                 ______________________

      Appeals from the United States District Court for the
  Eastern District of Texas in Nos. 2:12-cv-00207-JRG,
  2:15-cv-00347-JRG, Judge J. Rodney Gilstrap.
                  ______________________

                Decided: December 22, 2017
                  ______________________

      JONATHAN ELLIOT SINGER, Fish & Richardson, PC,
  San Diego, CA, argued for plaintiff-cross-appellant. Also
  represented by SUSAN E. MORRISON, ROBERT M. OAKES,
  Wilmington, DE; DEANNA JEAN REICHEL, Minneapolis,
  MN.

     JOHN C. O’QUINN, Kirkland & Ellis LLP, Washington,
  DC, argued for defendants-appellants. Also represented
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  by SEAN M. MCELDOWNEY, CALVIN ALEXANDER SHANK;
  BRYAN SCOTT HALES, Chicago, IL.
                ______________________

      Before MOORE, MAYER, and HUGHES, Circuit Judges.
  HUGHES, Circuit Judge.
      Allergan Sales, LLC sued generic drug manufacturers
  under the Hatch-Waxman Act, alleging infringement of
  U.S. Patent Nos. 7,030,149, 7,320,976, and 8,748,425.
  The U.S. District Court for the Eastern District of Texas
  found the asserted claims not invalid but only claims of
  the ’425 patent infringed. We find no reversible error in
  the district court’s finding of no invalidity. Nevertheless,
  because we find that the accused proposed generic drug
  contemplates administering dosages of a specific composi-
  tion that is not claimed in any of the patents, we affirm-
  in-part and reverse-in-part.
                               I
      Allergan holds the approved new drug application for
  Combigan®, which is used to lower intraocular pressure
  in glaucoma and ocular hypertension patients.
  Combigan® is a “fixed combination” ophthalmic solution
  consisting of 0.2% brimonidine tartrate and 0.68% timolol
  maleate for twice-daily dosage.
      Allergan claims that the ’149, ’976, and ’425 patents
  cover Combigan®. These patents share a common specifi-
  cation, which describes: (1) a “Brimonidine Tartrate
  0.20% (w/v)” and “Timolol Maleate 0.68% (w/v) (Equiva-
  lent to 0.50% (w/v) timolol)” pharmaceutical composition;
  and (2) a clinical study using that composition for twice
  daily administration. See, e.g., J.A. 347–50. In particu-
  lar, Allergan claims that claim 4 of the ’149 patent,
  claim 1 of the ’976 patent, and claims 1–8 of the ’425
  patent protect Combigan® and its administration.
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      Claim 4 of the ’149 patent recites a method of reduc-
  ing the number of daily administrations of 0.2% brimoni-
  dine and 0.5% timolol in a single composition from three
  times a day to two times a day “without loss of efficacy.”
  J.A. 350.
      Claim 1 of the ’976 patent recites a method of admin-
  istering “a therapeutically effective amount” of composi-
  tion comprising 0.2% brimonidine and 0.5% timolol twice
  daily. J.A. 356.
      Claim 1 of the ’425 patent recites administering twice
  daily a single combination comprising 0.2% brimonidine
  tartrate and 0.5% timolol free base to “reduce[] the inci-
  dence of one or more adverse events” listed in the claim.
  J.A. 366. Claims 2–8 of the patent depend from claim 1,
  each specifically reciting only one of the adverse events
  enumerated in claim 1. Id.
      Sandoz, Inc., Alcon Laboratories, Inc., and Alcon Re-
  search, Ltd. (collectively, Sandoz) filed and maintained an
  abbreviated new drug application (ANDA) with the U.S.
  Food and Drug Administration, seeking its approval to
  market generic versions of Combigan®. Allergan sued
  Sandoz for direct, induced, and contributory infringement,
  asserting numerous patents in three different actions,
  only the last two of which proceeded to a consolidated
  bench trial on the ’149, ’976, and ’425 patents.
      The district court found the asserted claims of the pa-
  tents not invalid as obvious. The court also found that
  claim 4 of the ’149 patent satisfies the written description
  requirement. The court finally determined that Sandoz’s
  ANDA does not infringe claim 4 of the ’149 patent or
  claim 1 of the ’976 patent, but does infringe claims 1–8 of
  the ’425 patent.
      Sandoz appeals the district court’s no-invalidity and
  infringement determinations. Allergan cross-appeals the
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  finding of non-infringement. We have jurisdiction under
  28 U.S.C. § 1295(a)(1).
                               II
      We review the district court’s legal determinations de
  novo and factual findings for clear error. Braintree Labs.,
  Inc. v. Novel Labs., Inc., 749 F.3d 1349, 1358 (Fed. Cir.
  2014). Obviousness is a question of law that we review de
  novo, and we review any underlying factual questions for
  clear error. Honeywell v. United States, 609 F.3d 1292,
  1297 (Fed. Cir. 2010). “Whether a claim satisfies the
  written description requirement is a question of fact that,
  on appeal from a bench trial, we review for clear error.”
  Alcon Res. Ltd. v. Barr Labs., Inc., 745 F.3d 1180, 1190
  (Fed. Cir. 2014). Infringement is a question of fact that
  we review for clear error. Id. at 1186.
                               A
       Sandoz first argues that all asserted claims are inva-
  lid as obvious. A claim is invalid if, at the time the inven-
  tion was disclosed, a person having ordinary skill in the
  art would have found the patented invention obvious in
  light of the prior art. See 35 U.S.C. § 103; KSR Int’l Co. v.
  Teleflex, Inc., 550 U.S. 398, 415–16 (2007). But patents
  are presumed to be valid and overcoming that presump-
  tion requires clear and convincing evidence. 35 U.S.C.
  § 282; Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95
  (2011).
       The district court found the asserted claims not inva-
  lid as obvious, reasoning that Sandoz presented substan-
  tially the same arguments and evidence in an earlier
  dispute with Allergan in which we held that claim 4 of the
  ’149 patent recited an efficacy limitation that is neither
  suggested nor inherent in any prior art in the record. J.A.
  74–76; see also Allergan, Inc. v. Sandoz Inc., 726 F.3d
  1286, 1293–94 (Fed. Cir. 2013). Relying on that preceden-
  tial decision, the court found that all asserted claims
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  recited analogous efficacy limitations, neither suggested
  nor inherent in prior art produced by Sandoz. J.A. 163.
       Sandoz contends that the court erred because the as-
  serted claims merely recite the inherent results of admin-
  istering an obvious combination. We disagree. As we
  concluded in the earlier dispute regarding claim 4 of the
  ’149 patent, the concomitant administration of brimoni-
  dine and timolol ophthalmic composition twice daily is
  obvious in view of the prior art. See J.A. 122–25; Aller-
  gan, 726 F.3d at 1294. Each asserted claim, however,
  expressly recites an additional efficacy limitation that
  further restricts the method of administering the compo-
  sition twice daily: (1) “without loss of efficacy” in claim 4
  of the ’149 patent, see J.A. 350; (2) “a therapeutically
  effective amount” in claim 1 of the ’976 patent, see J.A.
  356; and (3) “reduc[ing] the incidence of one or more
  adverse events” in claim 1 of the ’425 patent,1 see J.A.
  366. See also Allergan, 726 F.3d at 1293. Those efficacy
  limitations are not disclosed by any prior art reference in
  the record. To the contrary, the prior art shows that the
  combination dosed twice daily produces a loss of efficacy
  in the afternoon. J.A. 107–116; see also Allergan, 726
  F.3d at 1294. The efficacy limitations are also not inher-
  ent in the administration of the ophthalmic composition, a
  finding adequately supported by the record. See, e.g., J.A.
  2572–75, 3007–09, 3117–19, 3243–45. Accordingly, the
  asserted claims merely recite those administrations of the
  composition that satisfy the efficacy limitations—but not
  those that end up in, for example, a loss of efficacy, exam-
  ples of which abound in the prior art offered by Sandoz.
      In light of the foregoing, the district court did not err
  by finding that Sandoz failed to present clear and convinc-


      1  Claims 2–8 include similar limitations, but each
  claim specifically recites only one of the adverse events
  enumerated in claim 1. See J.A. 366.
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  ing evidence to overcome the presumption that the assert-
  ed claims are valid.
                                B
      Sandoz next argues that claim 4 of the ’149 patent is
  invalid for lack of written description in the specification
  based on its expert testimony that the claim encompasses
  hundreds of brimonidine and timolol combinations.
      The written description requirement provides that a
  patentee’s application for a patent must “clearly allow
  persons of ordinary skill in the art to recognize that [he]
  invented what is claimed.” Ariad Pharm., Inc. v. Eli Lilly
  & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc)
  (quoting Vas–Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563
  (Fed. Cir. 1991)). “[T]he test for sufficiency is whether the
  disclosure of the application relied upon reasonably
  conveys to those skilled in the art that the inventor had
  possession of the claimed subject matter as of the filing
  date.” Id. Relevant here, a sufficient description of a
  genus requires the “disclosure of either a representative
  number of species falling within the scope of the genus or
  structural features common to the members of the genus
  so that one of skill in the art can visualize or recognize the
  members of the genus.” Id. at 1350. Even a single repre-
  sentative embodiment can support written description of
  a claimed genus. See, e.g., Invitrogen Corp. v. Clontech
  Labs., Inc., 429 F.3d 1052, 1073 (Fed. Cir. 2005); Bilstad
  v. Wakalopulos, 386 F.3d 1116, 1124–25 (Fed. Cir. 2004).
      Claim 4 of the ’149 patent recites 0.2% brimonidine
  and 0.5% timolol. J.A. 350. Given the construction of the
  terms brimonidine and timolol to include their free base
  and salt forms, see J.A. 1594, 1597, the district court
  correctly credited Allergan’s expert testimony at trial that
  a person of ordinary skill in the art would have under-
  stood the claim to encompass only six possible combina-
  tions of brimonidine and timolol and their respective free
  base and salt forms, see J.A. 150—not, as Sandoz claims,
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  hundreds of combinations. More critically, the specifica-
  tion discloses one of those six possible combinations, 0.2%
  brimonidine tartrate and 0.68% timolol maleate composi-
  tion. See J.A. 347. Tellingly, Sandoz’s expert failed to
  identify any additional composition beyond that particu-
  lar combination. J.A. 150–51. It was also undisputed at
  trial that the only salt of brimonidine available as of the
  filing of the ’149 patent was brimonidine tartrate and that
  only one salt of timolol actually available—timolol male-
  ate. J.A. 151–52. The specification therefore discloses a
  representative—indeed, the sole—embodiment of the
  claimed genus and a person of ordinary skilled in the art,
  reading the specification, would have immediately dis-
  cerned the claimed limitation. Accordingly, the district
  court did not err by finding that the claim satisfies the
  written description requirement.
                                C
      Sandoz finally argues that the district court erred in
  finding infringement of claims 1–8 of the ’425 patent.
  Allergan asserted only literal infringement of those
  claims. “To establish literal infringement, every limita-
  tion set forth in a claim must be found in an accused
  product, exactly.” Advanced Steel Recovery, LLC v. X-
  Body Equip., Inc., 808 F.3d 1313, 1319 (Fed. Cir. 2015)
  (quoting Southwall Techs., Inc. v. Cardinal IG Co., 54
  F.3d 1570, 1575 (Fed. Cir. 1995)).
       The district court found that the proposed generic
  contains 0.5% timolol free base and therefore infringed
  the claims of the ’425 patent. J.A. 116–18, 158. That
  finding is erroneous for two related reasons. Claims 1–8
  are narrowly and specifically drawn, reciting administra-
  tion of 0.2% brimonidine tartrate and 0.5% timolol free
  base. J.A. 366. Both Combigan® and the proposed gener-
  ic, however, contain 0.68% timolol maleate, an ophthalmic
  compound distinct from 0.5% timolol free base. See, e.g.,
  J.A. 2786–87 (Sandoz’s expert explaining why the pro-
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  posed generic does not contain 0.5% timolol free base).
  The district court relied on the equivalency of the two
  compounds in finding literal infringement—that is, 0.5%
  timolol free base recited in claims 1–8 as chemically
  equivalent to 0.68% timolol maleate contained in the
  proposed generic. See J.A. 117, 158. Because chemical
  equivalency is not sufficient for literal infringement of
  these claims, the court clearly erred.
      The Hatch-Waxman Act provides for a technical in-
  fringement upon submission of an ANDA, but only “for a
  drug claimed in a patent.” 35 U.S.C. § 271(e)(2)(A). Here,
  Combigan® contains a 0.2% brimonidine tartrate and
  0.68% timolol maleate solution, as its FDA-approved label
  makes clear. J.A. 2310; see also J.A. 116–17. But claims
  1–8 of the ’425 patent expressly recite 0.5% timolol free
  base, not 0.68% timolol maleate. Therefore, as a matter of
  law, Combigan® is not the “drug claimed in” the ’425
  patent, and Sandoz’s ANDA does not infringe under
  § 271(e)(2)(A). See also Warner-Lambert Co. v. Apotex
  Corp., 316 F.3d 1348, 1354 (Fed. Cir. 2003) (“[I]t is not an
  act of infringement to submit an ANDA for approval to
  market a drug for a use when neither the drug nor that
  use is covered by an existing patent.”).
      In sum, the district court erred by finding that Aller-
  gan showed literal infringement of claims 1–8 of the ’425
  patent.
                               D
      Allergan argues on its cross-appeal that the district
  court erred in finding that Sandoz’s proposed generic does
  not infringe claim 4 of the ’149 patent and claim 1 of the
  976 patent. Allergan again asserted only literal in-
  fringement with respect to those claims. Both the claims
  specifically recite 0.2% brimonidine. But the proposed
  generic contains 0.2% brimonidine titrate, a distinct
  pharmaceutical compound that reduces to 0.132%
  brimonidine—indeed, Allergan’s expert confirmed so. J.A.
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  2710–11; see also J.A. 117. As such, the district court did
  not err by finding that Allergan failed to show literal
  infringement of claim 4 of the ’149 patent and claim 1 of
  the ’976 patent.
                                III
      We have considered remaining arguments and find
  them unpersuasive. Accordingly, we affirm the district
  court’s finding of no invalidity of the asserted claims and
  non-infringement of the claims of the ’149 and ’976 pa-
  tents, but reverse the finding of infringement of claim 1 of
  the ’425 patent.
    AFFIRMED-IN-PART AND REVERSED-IN-PART
     No costs.
